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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       No. 4:21-cr-00465-CDP
                                              )
SCOTT ROETHLE,                                )
                                              )
                                              )
       Defendant.                             )

 THE UNITED STATES OF AMERICA’S TRIAL BRIEF AND MOTIONS IN LIMINE
          FOR PRETRIAL DETERMINATIONS OF ADMISSIBILITY

       The United States of America, by and through Sayler A. Fleming, United States Attorney

for the Eastern District of Missouri, and Assistant United States Attorneys Derek Wiseman and

Justin Ladendorf, respectfully submits its trial brief and the following motions in limine:

       (1)     Motion in Limine to enforce the terms of Defendant Roethle’s proffer
               agreement and to admit Defendant Roethle’s interview statements
       (2)     Motion in Limine to admit business records as relevant, self-authenticating
               non-testimonial documents under Rules 902 and 803(6)
       (3)     Motion in Limine to admit summary exhibits under Rule 1006
       (4)     Motion in Limine to admit records relating to Defendant Roethle’s email
               account
       (5)     Motion in Limine to preclude Defendant Roethle from blaming Medicare
       (6)     Motion in Limine to preclude Defendant Roethle from commenting on
               potential punishment, sentence, or the availability of civil remedies
       (7)     Motion in Limine to preclude Defendant Roethle from making any selective or
               vindictive prosecution arguments at trial
       (8)     Motion in Limine to exclude unfounded allegations of law enforcement
               misconduct
       (9)     Motion in Limine to limit cross-examination of government witnesses under
               Federal Rule of Evidence 609
       (10)    Motion in Limine to preclude impermissible argument as to missing witnesses
       (11)    Motion in Limine to preclude Defendant Roethle’s introduction of self-serving
               hearsay
       (12)    Motion in Limine to preclude questions seeking to elicit an opinion about the



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               legality or illegality of Defendant Roethle’s actions
       (13)    Motion in Limine to preclude improper character evidence
       (14)    Motion in Limine to admit summary witness testimony
       (15)    Motion in Limine to allow the United States to show the jury transcripts of
               Defendant Roethle’s recorded interview and telephone conversation
       (16)    Motion in Limine to allow the United States to call witnesses on more than one
               occasion
       (17)    Motion in Limine to exclude evidence not produced in response to request for
               reciprocal discovery
       (18)    Motion in Limine to preclude an improper and untimely advice of counsel
               defense
       (19)    Motion in Limine to preclude Defendant Roethle from presenting legally
               baseless theories
       (20)    Motion in Limine to preclude Defendant Roethle from testifying without
               taking the witness stand
       (21)    Motion in Limine to revoke Defendant Roethle’s self representation if he
               deliberately engages in serious and obstructionist misconduct
       (22)    Motion in Limine to admit expert testimony from HHS-OIG Special Agent
               Mitchell Blum
                                         BACKGROUND

       Defendant Scott Roethle has been charged with committing health care fraud. See Doc. 1

(“Indictment”). The evidence at trial will establish that Defendant Roethle committed health care

fraud by ordering orthotic braces for thousands of Medicare patients—whom he had never met

and knew nothing about—without any medical judgment or analysis. In those fraudulent orthotic

brace orders, Defendant Roethle falsely represented that he had a doctor-patient relationship with

the Medicare patients, and that he made a medical necessity determination—neither of which was

true. Equipped with Defendant Roethle’s fraudulent orthotic brace orders, companies (including

companies here in the Eastern District of Missouri) submitted fraudulent reimbursement claims to

Medicare for the orthotic braces that were ordered by Defendant Roethle but that the patients did

not want or need. Based on those fraudulent reimbursement claims, Medicare paid out more than

eight million dollars. In exchange for signing the fraudulent orthotic brace orders—and thereby

enabling the submission of the fraudulent reimbursement claims to Medicare—Defendant Roethle



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received hundreds of thousands of dollars in illegal kickback payments.

       At trial, the United States will admit evidence of Defendant Roethle’s statements to federal

investigators—including his initial lies about his involvement in the charged health care fraud

scheme and his subsequent admissions to committing health care fraud. In fact, as Defendant

Roethle told federal investigators, he was hired by companies that sent him thousands of orthotic

brace orders to sign for patients across the country whom he had never met and knew nothing

about. During an interview with federal investigators, Defendant Roethle also admitted that he

made no medical judgments when signing the orthotic brace orders—he simply opened the

documents on his computer or phone and signed them (often dozens at a time) without hesitation.

Defendant Roethle further admitted that he knew that signing the orders for expensive and

unnecessary orthotic braces was wrong, but that he did it anyway because he wanted to purchase

a new house. In addition, Defendant Roethle told federal investigators that he knew that it was a

problem to sign these fraudulent orthotic brace orders without having a doctor-patient relationship

with the Medicare patients.

       Evidence at trial will further establish that Defendant Roethle signed these fraudulent

orders from his new house, at his gym, and while on vacations. Indeed, the United States will admit

Medicare claims data, the fraudulent orders retrieved from a Dropbox search warrant, DocuSign

records, and internet protocol address records to corroborate Defendant Roethle’s statements that

he signed the fraudulent orthotic brace orders without analysis or review. The trial evidence will

also include emails sent by Defendant Roethle during his fraud scheme where he acknowledged

that the patients did not want or need the braces and where he admitted that his actions were

fraudulent. In addition, the United States will also call fact witnesses who will testify that

Defendant Roethle was well aware that the patients did not want or need the orthotic braces that




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he persistently ordered.

        The United States will also admit Medicare claims data establishing that Defendant Roethle

had no prior relationship with the Medicare patients for whom he fraudulently ordered the orthotic

braces. Additionally, the claims data will also establish that Defendant Roethle—who is an

anesthesiologist in Kansas—ordered more orthotic braces than any other doctor in the State of

Missouri during his health care fraud scheme.

                                       MOTIONS IN LIMINE

I.      Motion in Limine to enforce the terms of Defendant Roethle’s proffer agreement and
        to admit Defendant Roethle’s interview statements

        The United States moves this Court for an order to enforce the express terms of the proffer

agreement between the United States and Defendant Roethle. See Exhibit A (Scott Roethle Proffer

Agreement). Defendant Roethle signed the attached proffer letter after fully consulting with his

then-attorney. The proffer letter provides that “the United States agrees that no statements given

in the interview will be used directly against your client in any criminal case during the United

States of America’s case in chief.” However, the proffer letter also includes the following explicit

caveat: “Finally, and most importantly, if your client does not now tell the truth, the promise

not to use what your client says in the interview against your client shall be null and void.”

Id. at 2. (emphasis added). Defendant Roethle confirmed to investigators that he completely

understood the terms of the proffer letter prior to participating in the proffer interview. More

specifically, counsel for the United States explicitly confirmed with Defendant Roethle that he

fully understood the provision of the proffer letter that, if he failed to tell the truth, the information

he provided in the proffer could be used by the United States against Defendant Roethle without

limitation. Because Defendant Roethle told at least two provable and material falsehoods during

his proffer interview, the protections afforded under the proffer agreement are void, and the United




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States may admit Defendant Roethle’s proffer statements at his trial.

       During his proffer interview, Defendant Roethle told two provable lies: First, Defendant

Roethle said that he never had any inclination that the telemedicine companies were acting as

telemarketing companies and cold calling patients, and second, he said that he believed patients

had the option not to fill the thousands of prescriptions he was writing for unwanted braces.

Defendant Roethle’s own emails demonstrate the falsity of both of these statements.

       Regarding Defendant Roethle’s false proffer statement that he never had any inclination

that the telemedicine companies were acting as telemarketing companies and cold calling patients,

in an email that Defendant Roethle sent to a telemedicine company employee on January 19, 2018,

Defendant Roethle admitted, “I have a feeling that the marketing groups might be cold calling

people at their home who have no idea what they are getting.” See Exhibit B. In a subsequent email

to another telemedicine company employee on March 8, 2018, Defendant Roethle stated, “I have

heard from a couple of patients that they just receive marketing calls asking about their pain, and

then eventually the prescriptions show up in the mail and their insurance is billed. This seems

predatory and/or fraudulent.” See Exhibit C. Defendant Roethle’s emails make clear that, contrary

to his statement in his proffer, he was well aware that the companies acting as telemarketing

companies and cold calling patients.

       Defendant Roethle’s emails also demonstrate the falsity of his proffer statement that he

believed that patients had the option not to fill the prescriptions for unwanted braces and

medications. As Defendant Roethle indicated in his emails, he knew that the patients who received

the unwanted items were completely unaware that a prescription had been written, and thus, could

not possibly have opted out of filling the prescription. For example, in an email that Defendant

Roethle sent to a telemedicine company employee on January 9, 2018, Defendant Roethle said, “I




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was notified of a patient, Joann Scherer, that has received multiple boxes of multiple braces, and

never has ordered/requested them.” See Exhibit D. In addition, in an email that Defendant Roethle

sent to a telemedicine company employee on July 26, 2018, Defendant Roethle said, “the patient,

insurance company, and/or pharmacy calls me stating the patient never spoke to anyone or

requested brace[.]” See Exhibit E. Defendant Roethle’s proffer statement that patients could opt

out of the prescriptions is patently belied by his emailing acknowledging that patients were

receiving braces without ever having spoken to anyone or having requested the braces that arrived,

unsolicited, at the patients’ homes. Thus, because Defendant Roethle made material, false

statements about his criminal activity during his proffer interview, the United States may admit

his interview statements under the express terms of the proffer agreement.1

         According to the Eighth Circuit, a defendant’s proffer statements are admissible at trial

under the terms of the proffer agreement. In United States v. Adejumo, the Eighth Circuit found no

error in the district court’s admission of the defendant’s proffer statements at trial, affirming the

district court’s conclusion that the defendant had “breached the express terms of the agreement by

providing material false information during the proffer session,” thus enabling the United States

to admit his statements at trial. 772 F.3d 513, 525–26 (8th Cir. 2014). See also United States v.

Sanders, 341 F.3d 809, 817 (8th Cir. 2003); United States v. Williams, 295 F.3d 817, 820 (8th Cir.

2002) (“[T]here was no plain error in the government’s cross-examination of Williams concerning

his proffer statement and plea stipulation. The proffer statement expressly provided that, in the


1
 According to the express terms of the attached proffer agreement, Defendant Roethle’s proffer statements will also
be admissible—under a separate proffer provision—if he makes any statements or takes any positions at trial that are
inconsistent with his proffer statements. See Exhibit A, p. 2 (“If, at any future trial or other proceeding in which your
client is a defendant or a witness, your client were to testify contrary to the substance of this interview, or through any
manner whatsoever, either personally or through an attorney or other representative, including, but not limited to,
opening statements, cross-examination of witnesses, direct examination of witnesses, or the presentation of exhibits
or other evidence, present a position inconsistent with the information provided in the interview, the United States
may use either as evidence in chief, or rebuttal evidence, any statements made or other information provided by you.”).




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event that Williams testified at a trial and offered testimony different from his proffer statement,

‘the Government may cross-examine him concerning any statements made or other information

provided during the [proffer] interview.’”). Likewise, this Court has recognized “that the

[Proffer] Agreement should be enforced as written[.]” See United States v. Redzic, No.

1:07CR00110 ERW, 2008 WL 11452358, at *3 (E.D. Mo. Mar. 21, 2008) (emphasis added).

        In addition to the two falsehoods laid out above, the proffer statements of Defendant

Roethle that the United States will seek to admit, in accordance with the proffer agreement, include

but are not limited to the following:

       ROETHLE admitted that, during the charged scheme, he was making no medical
        judgement when reviewing and signing the patient orders. ROETHLE just opened
        the orders and signed them without hesitation.
       ROETHLE admitted that he knew signing his name without making any medical
        judgement was wrong, but it was easy money and ROETHLE wanted to keep
        making it.
       ROETHLE would add his signature to the order and then click through all of the
        signature blocks in the medical records to add his signature to each patient record.
        The process was easy for ROETHLE, as it allowed ROETHLE to use his phone or
        his computer to access DocuSign and sign the orders by clicking through the
        document and signing where required.
       At the time, ROETHLE was feeling financial pressure from his wife who was
        always wanting more, to include a more expensive house that they were moving
        into the day he was fired from AAKC.
       ROETHLE admitted it was always a problem that he did not have a doctor patient
        relationship while working for the telemedicine companies.

        Therefore, under precedent—and the express terms of Defendant Roethle’s proffer

agreement—the United States may admit his proffer statements. For those reasons, the United

States moves this Court for a pretrial ruling enforcing the express terms of Defendant Roethle’s

proffer agreement and permitting the United States to admit Defendant Roethle’s proffer

statements at trial.




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II.     Motion in Limine to Admit Business Records as Relevant, Self-Authenticating Non-
        Testimonial Documents Under Rules 902 and 803(6)

        Under Rules 803(6) and 902(11), the United States intends to offer into evidence self-

authenticating business records. The United States previously provided notice to Defendant

Roethle of its intent to admit the following categories of self-authenticating business records. See

Exhibit F.

        (1)     Qlarant Medicare claims data and records;
        (2)     CoventBridge Medicare Part B and DME claims data and records;
        (3)     Wisconsin Physician Services Medicare application records;
        (4)     Microsoft email records;
        (5)     Bank of America records for Defendant Roethle’s bank accounts;
        (6)     Regions Bank records for Integrity Medical’s bank accounts;
        (7)     Dropbox records;
        (8)     DocuSign records;
        (9)     Bothwell Regional Medical Center records;
        (10)    Anesthesia Associates of Kansas City (“AAKC”) records;
        (11)    Children’s Mercy Kansas City records;
        (12)    Lifetime Fitness records;
        (13)    Brian’s Gym records;
        (14)    BlueCloud records;
        (15)    Sprint cellular telephone records for Defendant Roethle’s cellphone;
        (16)    Socket Telecom internet protocol subscriber records;
        (17)    Lumen Technologies internet protocol subscriber records; and
        (18)    Charter Communications internet protocol subscriber records.

        In the notice, the United States attached business records declarations for each of the above-

listed records. Those declarations comply with Rules 803(6) and 902(11). Because each of the

above-referenced records is admissible under Rules 803 and 902, the United States respectfully

requests a pretrial determination of the admissibility of these self-authenticating business records

to ensure the efficiency of the trial.

III.    Motion in Limine to Admit Summary Exhibits Under Rule 1006

        The United States intends to offer into evidence summary exhibits under Federal Rule of

Evidence 1006, including but not limited to the following summary exhibits: (1) summary exhibits




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for each health care fraud count, see e.g., Exhibit H; (2) exhibits summarizing Medicare claims

data, see e.g., Exhibit I; and (3) exhibits summarizing payments received by Defendant Roethle,

see e.g., Exhibit J.

        “Rule 1006 of the Federal Rules of Evidence permits a proponent to ‘use a summary, chart,

or calculation to prove the content of voluminous writings, recordings, or photographs that cannot

be conveniently examined in court.’ Fed. R. Evid. 1006. Such summaries are properly admissible

when ‘(1) the charts fairly summarize voluminous trial evidence; (2) they assist the jury in

understanding the testimony already introduced; and (3) the witness who prepared the charts is

subject to cross-examination with all documents used to prepare the summary.’” United States v.

Hawkins, 796 F.3d 843, 865 (8th Cir. 2015) (quoting United States v. Green, 428 F.3d 1131, 1134

(8th Cir. 2005) (internal quotations omitted). Here, the summary exhibits will satisfy all of the

Green admissibility requirements: they will fairly summarize voluminous trial evidence; they will

assist the jury in understanding the testimony already introduced; and the witnesses who prepared

the summary exhibits will be subject to cross-examination.

        The fact that here, the underlying evidence for some of the summary exhibits will have

been admitted, does not impact the admissibility of the summary exhibits under Rule 1006. See

United States v. Needham, 852 F.3d 830, 838 (8th Cir. 2017) (finding “no reversible error in the

district court’s admission of Government’s [Summary] Exhibit 51 in part on the basis that

“Government’s Exhibit 51 consists mostly of properly admitted evidence contained elsewhere in

the record”) (emphasis added); see, e.g., United States v. Milkiewicz, 470 F.3d 390, 396 (1st Cir.

2006) (noting that the evidence underlying Rule 1006 summaries need not be introduced into

evidence, but nothing in the rule forecloses a party from doing so).

        In short, the summary exhibits at issue here—all of which will be disclosed prior to trial—




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should be admitted because they fairly summarize voluminous trial evidence, will assist the jury

in understanding the testimony already introduced, and a witness who prepared the charts is subject

to cross-examination with all documents used to prepare the summary.

IV.    Motion in Limine to Admit Records Relating to Defendant Roethle’s Email Account

       The United States intends to introduce as evidence at trial certain records obtained from

Microsoft relating to Defendant Roethle’s email account (stroethle@hotmail.com). These records

include Microsoft’s subscriber information for Defendant Roethle’s email account, as well as

emails from that email account.

       As for records containing Microsoft’s subscriber information for Defendant Roethle’s

email account, these records are accompanied by a certification that complies with Federal Rule

of Evidence 902(11) and establishes the conditions of Federal Rule of Evidence 803(6). These

records are therefore admissible because they are self-authenticating and excluded from the rule

against hearsay.

       As for the emails from Defendant Roethle’s email account that the United States will

introduce at trial, the United States will authenticate those records at trial under Federal Rule of

Evidence 901, which provides that evidence can be authenticated by “distinctive characteristics

and the like,” such as by its “appearance, contents, substance, internal patterns, or other distinctive

characteristics of the item, taken together with all the circumstances.” Fed. R. Evid. 901(b)(4).

Specifically, the United States will link these emails to Defendant Roethle through numerous

pieces of evidence, including the following: (1) the email account is subscribed in Defendant

Roethle’s name (Scott T. Roethle MD); (2) the email account lists an alternative email address in

Defendant Roethle’s name from the medical school where he completed his residency

(scott.t.roethle@uth.tmc.edu); (3) the email address for the email account includes Defendant




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Roethle’s first and middle initials and last name (stroethle@hotmail.com); (4) the email address

for the email account was listed in contracts that Defendant Roethle produced in response to a

grand jury subpoena; (5) many of the emails sent to the email account are addressed to Defendant

Roethle, including emails that he produced in response to a grand jury subpoena; (6) many of the

emails sent from the email account contain Defendant Roethle’s name in the body of the email;

and (7) many of the emails in the email account contain information that Defendant Roethle would

know.

        Taken together, these distinctive characteristics are more than sufficient to authenticate the

emails from Defendant Roethle’s email account. See, e.g., United States v. Perez, 61 F.4th 623,

627 (8th Cir. 2023) (concluding that the Government sufficiently linked the defendant (Vincent

Perez) to a social media account through distinctive characteristics such as subscriber information

that contained the defendant’s personal biographical information, a message in which the account

user referred to himself as “Vinny,” evidence that the account was created using the defendant’s

Gmail address, and evidence that the account contained personal photographs of the defendant);

United States v. Fluker, 698 F.3d 988, 998–99 (7th Cir. 2012) (determining that the Government

properly authenticated emails where the email address bore the acronym of a company board of

which the author was a member and the contents of the emails contained information that the

author would know); United States v. Safavian, 435 F.Supp.2d 36, 39–40 (D.C.C. 2006)

(explaining that e-mails may be authenticated by examination of their distinctive characteristics,

including e-mail addresses that “contain the name of the person connected to the address” and

emails that “contain the name of the sender or recipient in the bodies of the e-mail, in the signature

blocks at the end of the e-mail, [or] in the ‘To:’ and ‘From:’ headings”).




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V.     Motion in Limine to Preclude Defendant Roethle from Blaming Medicare

       The United States moves to preclude Defendant Roethle from arguing that he did not

defraud Medicare, or that he did not know that his conduct was fraudulent, because Medicare failed

to detect fraud and paid claims that were submitted based on the fraudulent orders that he signed.

These kind of “victim blaming” arguments are irrelevant to the issue that the jury must decide:

whether or not Defendant Roethle is guilty of the offenses charged in the Indictment.

       “[A] fraud victim’s negligence is not a defense to criminal charges under the federal fraud

statutes.” United States v. Kock, 66 F.4th 695, 705 (8th Cir. 2023); see also United States v. Svete,

556 F.3d 1157, 1165 (11th Cir. 2009) (“A perpetrator of fraud is no less guilty of fraud because

his victim is also guilty of negligence.”). To permit such a defense “would invite con men to prey

on people of below-average judgment or intelligence, who are anyway the biggest targets of such

criminals and hence the people most needful of the law’s protection.” Kock, 66 F. 4th at 705. The

rule prohibiting the “victim blaming” defense bars any argument that “a victim’s diligence is

relevant in determining whether a misrepresentation has been made.” Id. (approving jury

instruction providing that “[i]t is not relevant, and not a defense, that the Internal Revenue Service

failed to detect the fraudulent nature of the scheme, nor is it relevant that the Internal Revenue

Service might have acted with greater diligence.”).

       In short, whether Medicare could have, or should have, detected or rejected claims that

were submitted based on the fraudulent orders signed by Defendant Roethle is irrelevant to his

guilt or innocence. Id. (“[T]he IRS’s diligence is immaterial in this prosecution.”). He should

therefore be precluded at trial from attempting to shift blame onto Medicare.

VI.    Motion in Limine to Prohibit Defendant Roethle from Commenting on Potential
       Punishment, Sentence, or the Availability of Civil Remedies

       The United States moves to prohibit Defendant Roethle from commenting on the potential




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punishment, sentence, or the availability of civil remedies. None of these are appropriate topics to

raise in front of the jury.

        The Supreme Court has long recognized that “the jury [has] no sentencing function and

should reach its verdict without regard to what sentence might be imposed.” Rogers v. United

States, 422 U.S. 35, 40 (1975); see also Shannon v. United States, 512 U.S. 573, 579 (1994)

(internal quotations omitted) (“It is well established that when a jury has no sentencing function,

it should be admonished to reach its verdict without regard to what sentence might be imposed.”).

That is precisely why “[s]entencing is generally one of the areas barred from comment during

closing arguments to the jury because the jury is supposed to be concerned solely with the

determination of guilt.” 75A Am. Jur. 2d Trial § 470. Eighth Circuit Model Jury Instruction No.

3.12 memorializes this principle by providing that: “[I]f the defendant is found guilty, the sentence

to be imposed is [the Court’s] responsibility. [The jury] may not consider punishment in any way

in deciding whether the [government] . . . has proved its case beyond a reasonable doubt.” Thus,

where the Court, and not the jury, imposes punishment, “the duration of imprisonment for the

crime in question is not a proper subject of comment . . . .” 75A Am. Jur. 2d Trial § 470.

        The United States’ decision to pursue a criminal prosecution, rather than civil remedies,

likewise is not an issue that should be put before the jury. That decision simply “is not an issue for

the jury to decide” because it has no bearing on the defendant’s guilt or innocence. United States

v. Clay, 618 F.3d 946, 955–56 (8th Cir. 2010). The same is true with respect to the availability of

civil remedies, which is similarly irrelevant to the question of the defendant’s guilt or innocence.

See United States v. DeMuro, 577 F.3d 550, 565 (8th Cir. 2012) (ruling that the district court

properly excluded evidence regarding the IRS’s criminal prosecution referral “because it opened

the door to jury nullification, by inviting the jury to reason that the IRS should have continued to




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pursue the matter civilly rather than criminally”).

        In sum, the law prohibits Defendant Roethle from commenting in any way on the potential

punishment and sentence that he faces, as well as the availability of civil remedies. Therefore, the

United States requests that the Court enter an order precluding Defendant Roethle commenting on

any of these issues in front of the jury.

VII.    Motion in Limine to Preclude Defendant Roethle from Making Any Selective or
        Vindictive Prosecution Arguments at Trial

        The United States moves to preclude Defendant Roethle from making any argument in

front of the jury relating to vindictive or selective prosecution. In particular, the United States

moves to preclude evidence or argument at trial that law enforcement chose to target Defendant

Roethle and not other physicians, or that other co-conspirators have not faced charges.

        “In our criminal justice system, the Government retains broad discretion as to whom to

prosecute.” Wayte v. United States, 470 U.S. 598, 607 (1985) (internal quotations omitted). “[T]he

decision to prosecute is particularly ill-suited” for external review because “[s]uch factors as the

strength of the case, the prosecution’s general deterrence value, the Government’s enforcement

priorities, and the case’s relationship to the Government’s overall enforcement plan are not readily

susceptible to the kind of analysis the courts are competent to undertake.” Id. Given the inherent

difficulty in evaluating the Government’s decision to prosecute, any attempt by a defendant to

challenge that decision by claiming vindictive or selective prosecution “should be addressed [by

the court] before trial.” Clay, 618 F.3d at 955–56 (8th Cir. 2010).

        To succeed on such a claim, a defendant must demonstrate “1) that he has been singled out

for prosecution while others similarly situated have not been prosecuted for similar conduct and

2) that the government’s action in thus singling him out was based on an impermissible motive

such as race, religion, or the exercise of constitutional rights.” United States v. White, 928 F.3d




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734, 742–43 (8th Cir. 2019). This “standard is a demanding one[.]” Id. at 743 (quoting United

States v. Armstrong, 517 U.S. 456, 463 (1996)). “Without sufficient facts that show otherwise, the

Government’s case is presumed to have proceeded in good faith and with a nondiscriminatory

purpose.” United States v. Barber, Case No. 4:21-cr-00384 SEP/NCC, 2022 WL 4239047, at *7

(E.D. Mo. Aug. 8, 2022), report and recommendation adopted, 2022 WL 4235139 (E.D. Mo. Sept.

14, 2022).

        Absent Defendant Roethle making this “demanding” showing to the Court before trial, he

should be barred from making any arguments during trial in front of the jury regarding the United

States’ charging decision in this case.

VIII. Motion in Limine to Exclude Unfounded Allegations of Law Enforcement Misconduct

        The United States moves to exclude any argument from Defendant Roethle concerning

unfounded allegations of law enforcement misconduct because such allegations are irrelevant,

unduly prejudicial, and would only confuse the jury.

        The Eighth Circuit addressed the problem with unfounded allegations of law enforcement

misconduct in United States v. Sanders, 196 F.3d 910 (8th Cir. 1999). There, the defense

repeatedly asked questions in front of the jury that the district court perceived to be part of an effort

to suggest that law enforcement had conducted an illegal stop, despite the court’s previous ruling

that the stop was lawful. Id. at 914. As a remedy for such a baseless suggestion, the district court

submitted a jury instruction, which informed jurors that law enforcement’s actions in connection

with the stop were lawful. Id. The Eighth Circuit affirmed that instruction based on the concern

that the defense “had confused the jury” by improperly insinuating that law enforcement’s actions

were illegal. Id.; United States v. Ledra Craig, 4:20-cr-00403, Doc. 180 (E.D. Mo. Jan. 12, 2023)

(barring argument regarding unfounded allegations of law enforcement misconduct).




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       To preempt Defendant Roethle from attempting to make similarly baseless allegations

here, the Court should preclude him from making any argument in front of the jury concerning

unfounded allegations of law enforcement misconduct.

IX.    Motion in Limine to Limit Cross-Examination of Government Witnesses Under
       Federal Rule of Evidence 609

       The United States moves to limit Defendant Roethle’s cross-examination of Government

witnesses with prior convictions to only what is allowed under Federal Rule of Evidence 609.

Under Rule 609, “[t]he following rules apply to attacking a witness’s character for truthfulness by

evidence of a criminal conviction:”

       (1) for a crime that, in the convicting jurisdiction, was punishable by death or by
       imprisonment for more than one year, the evidence:
               (A) must be admitted, subject to Rule 403, in a civil case or in a criminal
               case in which the witness is not a defendant; and
               (B) must be admitted in a criminal case in which the witness is a defendant,
               if the probative value of the evidence outweighs its prejudicial effect to that
               defendant; and
       (2) for any crime regardless of the punishment, the evidence must be admitted if
       the court can readily determine that establishing the elements of the crime required
       proving--or the witness’s admitting--a dishonest act or false statement.

Fed. R. Evid. 609(a).

       “While a witness may be impeached by inquiring into his prior convictions, the scope of

such examination is strictly limited in order to avoid the confusion resulting from the trial on

collateral issues, and also to avoid unfairness to the witness.” United States v. Street, 548 F.3d 618,

627 (8th Cir. 2008) (internal citations and quotations omitted). Specifically, defense cross-

examination regarding a Government witness’s prior conviction is limited to what crime the

witness was convicted of committing. Id. Any further inquiry “would be to relitigate [the

witness’s] prior conviction,” which “is precisely the sort of confusing, collateral issue” that has

long been prohibited. Id. (citing United States v. Roenigk, 810 F.2d 809, 814 (8th Cir.1987)).




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Accordingly, Defendant Roethle’s cross-examination of Government witnesses with qualifying

Rule 609 prior convictions should be limited to only the nature of those prior convictions.

X.          Motion in Limine to Prohibit Impermissible Argument as to Missing Witnesses

            Numerous witnesses, both civilian and law enforcement, played a role in the investigation

in this case. The United States has provided all discoverable law enforcement reports to Defendant

Roethle in discovery. The United States anticipates that it will not call as witnesses in its case in

chief at trial all of the individuals identified in those reports. However, the identities of those

individuals are known to Defendant Roethle. Should he desire to call any of them as witnesses,

Federal Rule of Criminal Procedure 17 provides him with the necessary subpoena authority to do

so. Because these witnesses are known to Defendant Roethle and are not within the unique control

of the United States, the United States moves to prohibit Defendant Roethle from making an

improper argument regarding the United States’ decision not to call certain witnesses at the time

of trial.

            As the notes to the Eighth Circuit Model missing witness instruction (4.16) state, the

request for a missing witness instruction is to “be applied with caution” because “the applicable

rule in this Circuit” is that:

            Absent unusual circumstances such as knowingly concealing evidence favorable to
            a defendant, the government has a wide discretion with respect to the witnesses to
            be called to prove its case. The government is not ordinarily compelled to call all
            witnesses competent to testify including special agents or informers.

(citing United States v. Williams, 604 F.2d 1102, 1117 (8th Cir. 1979); United States v. Mosby,

422 F.2d 72, 74 (8th Cir. 1970)). Generally, a missing witness instruction is “not appropriate”

unless the defense shows “that the government possesses the sole power to produce the witness.”

United States v. Cole, 380 F.3d 422, 427 (8th Cir. 2004) (citing United States v. Martinez-

Figueroa, 363 F.3d 679, 682 (8th Cir. 2004)). For that reason, a district court’s decision not to




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give a missing witness instruction has been affirmed in each of the following circumstances:

       (1)     where the ability to produce the witness was not solely or otherwise in the power

               of the Government, such as where a witness could not testify due to illness

               (Williams, 604 F.2d at 1117);

       (2)     where the witness was not subpoenaed by either party (Williams, 604 F.2d at 1120;

               United States v. Higginbotham, 451 F.2d 1283, 1286 (8th Cir. 1971));

       (3)     where the witness was argued to be “unavailable” because he worked for the

               Government (United States v. Anders, 602 F.2d 823, 825 (8th Cir. 1979));

       (4)     where the witness/informant’s whereabouts were no longer known to the

               Government (United States v. Johnson, 562 F.2d 515, 517 (8th Cir. 1977));

       (5)     where there was no showing that the Government possessed the sole power to

               produce the witnesses (United States v. Kirk, 534 F.2d 1262, 1280 (8th Cir. 1976));

       (6)     where the defendant had not made a motion to produce or attempted to subpoena

               the witness (United States v. Williams, 481 F.2d 735, 737-8 (8th Cir. 1973)).

       Here, the United States is unaware of any witness uniquely in the power of the United

States who is not equally available to Defendant. Defendant Roethle should therefore be prohibited

at trial from making improper argument relating to purportedly missing witnesses.

XI.    Motion in Limine to Preclude Defendant Roethle’s Introduction of Self-Serving
       Hearsay

       During trial, Defendant Roethle may attempt to introduce self-serving hearsay through the

cross-examination of Government witnesses or through the direct examination of defense

witnesses other than himself. When the United States offers a defendant’s statements in evidence,

the statements are the non-hearsay admissions of a party opponent under Federal Rule of Evidence

801(d)(2)(A). But “[w]hen offered by the Defendant, such statements are classic, self-serving




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inadmissible hearsay. It is well accepted that ‘a party’s own statement is admissible as non-hearsay

only if it is offered against that party.’” United States v. Bravata, No. 11-CR-20314, 2013 WL

692955, at *1 (E.D. Mich. Feb. 26, 2013) (citing Stalbosky v. Belew, 205 F.3d 890, 94 (6th

Cir.2000)); see also Williamson v. United States, 512 U.S. 594, 618 (1994) (“In the criminal

context, a self-serving statement is one that tends to reduce the charges or mitigate the punishment

for which the declarant might be liable.”).

       The Eighth Circuit has ruled that “no abuse of discretion lies in a district court’s refusal to

admit evidence of self-serving statements of innocence made by the defendant after the offense

was discovered.” United States v. Woosley, 761 F.2d 445, 449 (8th Cir. 1985). “Such evidence

lacks the required indicia of trustworthiness and reliability which support the admission of hearsay

under exceptions to the hearsay rule.” Id; see also United States v. Griffin, 215 F.3d 866, 868 (8th

Cir. 2000) (upholding trial court’s exclusion of self-serving hearsay statements made by the

defendant to other people).

       Further, if the United States introduces the incriminating portions of a defendant’s

statements, the defendant cannot circumvent the prohibition against self-serving hearsay by relying

on the “rule of completeness” rationale drawn from Federal Rule of Evidence 106. Rule 106

provides that “[i]f a party introduces all or part of a statement, an adverse party may require the

introduction, at that time, of any other part--or any other statement--that in fairness ought to be

considered at the same time. The adverse party may do so over a hearsay objection.” Fed. R. Evid.

106. “Rule 106, the rule of completeness . . . does not empower a court to admit unrelated hearsay

in the interest of fairness and completeness when that hearsay does not come within a defined

hearsay exception.” United States v. Ramos-Caraballo, 375 F.3d 797, 803 (8th Cir. 2004) (cleaned

up). The only time that Rule 106 permits the admission of a defendant’s otherwise inadmissible




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self-serving hearsay statement is when that statement is necessary to correct a false or misleading

impression. See Fed. R. Evid. 106 advisory committee’s note to 2023 amendment (“The

amendment does not give a green light of admissibility to all excised portions of statements. It

does not change the basic rule, which applies only to the narrow circumstances in which a party

has created a misimpression about the statement, and the adverse party proffers a statement that in

fact corrects the misimpression.”).

       Based on the foregoing, Defendant Roethle should be precluded from introducing any of

his own exculpatory hearsay statements at trial unless and until he demonstrates that his additional

statements are necessary to correct a false or misleading impression. See, e.g., United States v.

Thurber, 106 F.4th 814, 831 (8th Cir. 2024) (holding that the district court properly excluded

defendant’s supposedly exculpatory text messages because those messages did not “explain the

admitted evidence, provide context, avoid misleading the jury, or ensure a fair and impartial

understanding of the admitted evidence”).

XII.   Motion in Limine to Prohibit Questions Seeking to Elicit an Opinion About the
       Legality or Illegality of Defendant Roethle’s Actions

       Defendant Roethle should be prohibited from requesting that any witness opine as to

whether his actions were legal or illegal because it invades the province of the Court and usurps

the Court’s function. See, e.g., United States v. Bull, 8 F.4th 762, 768 (8th Cir. 2021) (“[E]xpert

testimony on legal matters is not admissible because matters of law are for the trial judge, and it is

the judge’s job to instruct the jury on them.”) (cleaned up)); United States v. Ness, 665 F.2d 248,

250 (8th Cir. 1981) (“[W]here the opinion proffered necessarily encompasses a legal conclusion,

a trial court may very properly conclude that a response would not be helpful to the trier of fact.”).

Defendant Roethle should also be prohibited from requesting that any witness opine as to whether

his actions were unlawful, knowing, or willful because such testimony would not be helpful to the




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jury. See United States v. Baskes, 649 F.2d 471, 478 (7th Cir. 1980) (“When, as here, a witness is

asked whether the conduct in issue was ‘unlawful’ or ‘wilful’ or whether the defendants

‘conspired,’ terms that demand an understanding of the nature and scope of the criminal law, the

trial court may properly conclude that any response would not be helpful to the trier of fact.”).2

         In short, the United States requests the Court prohibit questions at trial that call for

improper legal conclusions regarding the legality or illegality of Defendant Roethle’s actions.

XIII. Motion in Limine to Preclude Improper Character Evidence

         The United States moves in limine for an order limiting the testimony of any defense

character witnesses to their opinions about the defendant’s honesty, truthfulness, and being law

abiding, and the defendant’s reputation in the community for the same. In particular, the Court

should prohibit Defendant Roethle from introducing evidence concerning other uncharged

occasions of purportedly lawful or “good” medicine practiced by Defendant Roethle. Such

evidence is irrelevant and inadmissible character evidence under Federal Rules of Evidence

404(a)(1) and 403.

         A.       As a general matter, Defendant Roethle may only offer character evidence of
                  a pertinent trait and is not permitted to offer such evidence in the form of
                  specific instances of conduct.

         While defendants in criminal cases may offer character evidence at trial, they are limited

in the subject matter and form of such evidence. Federal Rule of Evidence 404(a)(2)(A) limits

admissible character evidence offered by a defendant to evidence of a “pertinent trait.” A pertinent

character trait is one that is relevant to the offenses charged. United States v. John, 309 F.3d 298,

303 (5th Cir. 2002). Federal Rule of Evidence 405(a) provides that character witnesses may testify


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           Questions regarding whether prescriptions ordered by Defendant Roethle were the result of medical
necessity determinations do not call for legal conclusions and are thus permissible. See United States v. Volkman, 797
F.3d 377, 389 (6th Cir. 2015) (ruling that the district court did not abuse its discretion by admitting an expert witness’s
testimony that prescriptions issued by the defendant fell outside the scope of a legitimate medical practice).




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concerning a pertinent trait in the form of an opinion or by testimony about the person’s reputation

in the community. United States v. Drapeau, 644 F.3d 646, 654 (8th Cir. 2011) (“In all cases in

which evidence of character or a trait of character of a person is admissible, proof may be made

by testimony as to reputation or by testimony in the form of an opinion.”). Taken together, these

rules permit character evidence, normally considered to be propensity evidence, to be introduced

by a defendant in a criminal case to imply that the defendant is unlikely to have committed the

crime. United States v. Monteleone, 77 F.3d 1086, 1089 (8th Cir. 1996) (“Character evidence is

undeniably relevant in determining probabilities of guilt.”) (citing Michelson v. United States, 335

U.S. 469, 476 (1948)).

        Where, as here, a character trait is not an element of the charge or a defense, Defendant

Roethle is not permitted to offer evidence in the form of specific instances of conduct to prove said

character or a character trait. Fed. R. Evid. 405(b). Accordingly, defense character witnesses

should be limited to identifying themselves, indicating how long and in what capacity they have

known Defendant Roethle, and then stating their opinion about the pertinent trait or Defendant

Roethle’s reputation for that pertinent trait in the community. See United States v. Kinsella, 545 F.

Supp. 2d 158, 161 (D. Me. 2008) (“A defendant is thus permitted to call a witness, establish his

contemporaneous and relevant knowledge of the defendant’s reputation, and elicit a favorable

response. He is not permitted to ask questions about specific instances of good conduct or specific

character traits.”).

        B.      Defendant Roethle cannot offer evidence of purportedly lawful or “good”
                medical practice on other occasions, because such prior “good acts” are
                irrelevant to the charged conduct and inadmissible character evidence.

        “Courts have held that the general character trait of law-abidingness is pertinent to almost

all criminal offenses.” In re Sealed Case, 352 F.3d 409, 412 (D.C. Cir. 2003); see also Michelson




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335 U.S. at 483 (holding possession of characteristics, including law-abidingness, would seem

incompatible with offering a bribe to a revenue agent which was the crime charged); United States

v. Angelini, 678 F.2d 380, 382 (1st Cir. 1982) (“With very few exceptions, the cases hold that

evidence of a defendant’s character as a law-abiding person is admissible.”); United States v. De

Leon, 728 F.3d 500, 505 (5th Cir. 2013) (holding district court erred in excluding testimony by

mother that her son, a doctor charged with health care fraud, was law abiding).

       However, evidence of non-criminal conduct on occasions, separate from those charged, is

not admissible because the evidence involves totally different incidents and is not probative of the

defendant’s acts and intent related to the charges in the Indictment. See, e.g., United States v.

Ahmed, 73 F.4th 1363, 1384 (11th Cir. 2023) (“Evidence of good conduct is not admissible to

negate criminal intent.” (alterations in original)); United States v. Grimm, 568 F.2d 1136, 1138

(5th Cir. 1978) (“Evidence of non-criminal conduct to negate inference of criminal condition is

generally irrelevant”); United States v. Scarpa, 897 F.2d 63, 70 (2d Cir. 1990) (“A defendant may

not seek to establish his innocence . . . through proof of the absence of criminal acts on specific

occasions.”); United States v. Qaoud, 777 F.2d 1105, 1111 (6th Cir. 1985) (finding no error in

excluding testimony of an influence peddler that the defendant, a judge, did not accept kickbacks

from him). As courts have recognized, “[a] single occurrence of lawful conduct is ’simply

irrelevant’ to other occurrences of unlawful conduct.” United States v. Chambers, 800 Fed. Appx.

43, 46 (2d Cir. 2020); see also United Stats v. Marrero, 904 F.2d 251, 260 (5th Cir. 1990) (“The

fact that Marrero did not overcharge in every instance in which she had an opportunity to do so is

not relevant to whether she, in fact, overcharged as alleged in the indictment.”).

       Here, Defendant Roethle is charged with health care fraud. Defendant Roethle may attempt

to offer evidence that he provided necessary, legitimate, and/or beneficial medical care to some of




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his patients and on occasions other than those charged in the Indictment. This Court should

preclude such evidence because it is not probative of Defendant Roethle’s actions and intent as to

the prescriptions and patients at issue in the counts charged in the Indictment.

       As the Eleventh Circuit recently made clear, so-called “good-care” evidence is irrelevant

and inadmissible character evidence in a case such as this. See United States v. Ifediba, 46 F.4th

1225 (11th Cir. 2022). In Ifediba, the defendant, a medical doctor charged with health care fraud

and unlawful distribution of controlled substances, attempted to introduce evidence that he

“provided legitimate medical treatment to some patients” in order to rebut the government’s claim

that he operated a pill mill and submitted insurance claims for medically unnecessary services. Id.

at 1231–34, 1238. In upholding the district court’s refusal to admit such evidence, the court of

appeals agreed that this evidence “was merely an attempt to portray Ifediba as a person of good

character by pointing to his prior good acts,” which is prohibited by Federal Rule of Evidence

404(a). Id. at 1238. Likewise, any purported “good care” evidence offered by Defendant Roethle

would serve no purpose other than to imply that he acted in conformity with that care on the

occasions charged in this case or to negate his criminal intent, “which makes it precisely the kind

of evidence that Rules 404(a) and 405(b) prohibit.” Ahmed, 73 F.4th at 1384. Accordingly, the

United States requests that the Court exclude any evidence of specific acts offered to establish the

trait of being law-abidingness and limit testimony to opinion and reputation evidence. See Ifediba,

46 F.4th at 1238 (“[T]he government never alleged that Ifediba unlawfully treated every patient .

. . . Thus, it was no defense that Ifediba lawfully treated some patients.”).

XIV. Motion in Limine to Admit Summary Witness Testimony

        At trial, the United States intends to elicit summary testimony from federal agents. “The

testimony of a summary witness may be received so long as she bases her summary on evidence




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received in the case and is available for cross-examination.” United States v. Ellefsen, 655 F.3d

769, 780 (8th Cir. 2011) (quoting United States v. King, 616 F.2d 1034, 1041 (8th Cir. 1980)); see

also United States v. Robinson, 439 F.3d 777, 781 (8th Cir. 2006) (same). Applied here, the

summary testimony elicited from federal agents will involve only admitted evidence, and those

federal agents will be available for cross-examination. Such testimony is necessary to educate the

jury here because this case involves voluminous evidence, including medical records, prescription

data, claims data, bank records, and email communications.

       The testifying federal agents will use demonstrative exhibits, which summarize such

voluminous evidence, to facilitate their testimony. The Eighth Circuit has consistently held, and

the Federal Rules of Evidence establish, that “[d]emonstrative exhibits may be admitted, at the

trial court’s discretion, as ‘educational tool[s] for the jury.’” United States v. Two Elk, 536 F.3d

890, 905 (8th Cir. 2008) (quoting Wipf v. Kowalski, 519 F.3d 380, 387 (7th Cir. 2008)); see also

United States v. Fechner, 952 F.3d 954, 960 (8th Cir. 2020) (finding no abuse of discretion where

“the demonstrative exhibits at issue merely provided a visual aid during Agent Thomas’s testimony

regarding other evidence. The videos described in the demonstrative exhibits were properly

submitted into evidence, and the district court did not abuse its discretion by receiving the summary

demonstrative exhibits.”).    Here, where the testimony of the testifying federal agents will

summarize voluminous admitted evidence, visual demonstratives outlining key portions of that

evidence is of particular importance in “educating the jury” and making the testimony

understandable. The use of this demonstrative exhibit at trial is consistent with both the rules of

evidence and Eighth Circuit precedent. See Crockett, 49 F.3d at 1361–62; Downen, 496 F.2d at

321.




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XV.     Motion in Limine to allow the United States to show the jury transcripts of Defendant
        Roethle’s recorded interview and telephone conversation

        The United States plans to show the jury transcripts of the recordings that will be played,

including transcripts of (1) the recorded interview that Defendant Roethle participated in with the

investigators on this case, and (2) Defendant Roethle’s recorded telephone conversation with an

employee of his former employer (Anesthesia Associates of Kansas City). In the Eighth Circuit,

the decision to allow the use of transcripts to assist jurors in listening to a tape recording lies within

the sound discretion of the district judge. United States v. Placensia, 352 1157, 1166 (8th Cir.

2003) (noting trial court’s discretion to admit transcripts even without tape recordings); see also

United States v. Martinez, 951 F.2d 887, 888 (8th Cir. 1991); United States v. McMillan, 508 F.2d

101, 105 (8th Cir. 1974). It is appropriate, in the sound discretion of the trial judge, to furnish the

jurors with copies of a transcript to assist them in listening to recordings.

        The use of transcripts aids the jury in a number of ways. Among these are: (1) to help the

jurors follow often poor-quality recordings (United States v. Riascos, 944 F.2d 442, 443 (8th Cir.

1991)); (2) to identify speakers (United States v. Henneberry, 719 F.2d 941, 949 (8th Cir. 1983));

(3) to assist the jury when portions of the recording are inaudible (United States v. Willis, 774 F.2d

258, 259 (8th Cir. 1985)); and (4) to aid the jury in understanding colloquialisms in the

conversation (United States v. Delpit, 94 F.3d 1134, 1148 (8th Cir. 1996)). The United States

intends to play audio transcripts of the admitted recordings while a rolling transcript appears on

the court monitors. In both cases, there will be a highlighted portion of text rolling and synched to

the audio file. This is an aid to assist the jury in identifying the speakers and following the

conversation. The United States will also offer the following Eighth Circuit Model limiting

instruction:




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       The transcript is for the limited purpose of helping you follow the conversation as
       you listen to the recording, and also to help you keep track of the speakers.
       Differences in meaning between what you hear in the recording and read in the
       transcript may be caused by such things as the inflection in a speaker’s voice. It is
       what you hear, however, and not what you read, that is the evidence.

See 8th Cir. Model Jury Instructions – Criminal 2.06A (2021). Therefore, the United States

respectfully requests permission to show the jury transcripts of (1) the recorded interview that

Defendant Roethle participated in with the investigators on this case and (2) Defendant Roethle’s

recorded telephone conversation with an employee of his former employer (Anesthesia Associates

of Kansas City).

XVI. Motion in Limine to Allow the United States to Call Witnesses on More Than One
     Occasion

       Based on the nature of the underlying investigation, and the volume of evidence, the United

States may call federal agents to testify on more than one occasion in this case. Consistent with

the goal of an orderly and understandable trial, the United States requests that the cross-

examination of the witness who will be testifying more than once be limited to the subject of their

direct examination.

       The Eighth Circuit has commended such a procedure as a “way to clearly present an

organized factual recital in an extended conspiracy trial.” United States v. Jackson, 549 F.2d 517,

529 (8th Cir. 1977). In Jackson, the witness in question was subject to cross-examination only on

the subject matter of each successive appearance (as well as credibility), until his final appearance

when a full cross-examination was permitted. In finding such a procedure appropriate, the court

noted that this manner of presentation “provided each defendant with numerous opportunities for

cross-examination as to both credibility and the subject matter of his testimony.” Id. at 528; see

also United States v. DeLuna, 763 F.2d 897, 911 (8th Cir. 1985) (holding that testimony in

installments was not an abuse of discretion noting that “[i]n this circuit, the manner and order of




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interrogation and presentation of evidence are matters committed to the discretion of the district

court.”); see also United States v. Puckett, 147 F.3d 765, 770 (8th Cir. 1998); United States v.

Dimora, 843 F. Supp. 2d 799, 822 (N.D. Ohio 2012); United States v. Edelin, 128 F. Supp. 2d 23,

47 (D.D.C. 2001).

     The United States District Court for the Eastern District of Missouri has granted motions

approving this method of witness presentation in several cases. See, e.g., United States v.

Anderson, Case No. 4:13CR00164 RWS; United Sates v. Williams, Case No. 4:08CR00566 CDP.

Therefore, the United States respectfully requests that it be permitted to call witnesses on more than

one occasion.

XVII. Motion in Limine to Exclude Evidence Not Produced in Response to Request for
      Reciprocal Discovery

       On multiple occasions throughout this case, the United States has requested reciprocal

discovery from Defendant Roethle pursuant to Fed.R.Evid. 16(b)(1)(A) and (B). The reciprocal

discovery rule, Rule 16(b)(1), states that if the United States complies with a defendant’s requested

disclosures, which here, the United States has, the defense must provide the United States, upon

request, with all of the items identified in subsections (A) and (B), to wit:

               (1) Information Subject to Disclosure.
               (A) Documents and Objects. If a defendant requests disclosure under Rule
       16(a)(1)(E) and the government complies, then the defendant must permit the
       government, upon request, to inspect and to copy or photograph books, papers,
       documents, data, photographs, tangible objects, buildings or places, or copies or
       portions of any of these items if:
               (i) the item is within the defendant’s possession, custody, or control; and
               (ii) the defendant intends to use the item in the defendant’s case-in-chief at
       trial.
               (B) Reports of Examinations and Tests. If a defendant requests disclosure
       under Rule Rule 16(a)(1)(F) and the government complies, the defendant must
       permit the government, upon request, to inspect and to copy or photograph the
       results or reports of any physical or mental examination and of any scientific test
       or experiment if:
               (i) the item is within the defendant’s possession, custody, or control; and




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                (ii) the defendant intends to use the item in the defendant’s case-in-chief at
       trial, or intends to call the witness who prepared the report and the report relates to
       the witness’s testimony.

       In United States v. Eason, 829 F.3d 633, 639 (8th Cir. 2016), the Eighth Circuit affirmed

the district court’s exclusion of evidence the defendant attempted to admit at trial, despite having

filed to provide them in discovery pursuant to the United States’ request for reciprocal discovery,

finding that “[t]he defense’s failure to turn them [the evidence at issue] over to the government

was a violation of that [Fed.R.Evid.16(b)(1)] rule” and that therefore, exclusion was an appropriate

sanction.

       Applied here, the United States made its request for reciprocal discovery years ago, and

most recently at the February 4, 2025 status conference before this Court. At that conference, this

Court ordered Defendant Roethle to produce all Rule 16 materials by February 28, 2025. See Doc.

219. To date, the United States has yet to receive a single item of reciprocal discovery from

Defendant Roethle. Therefore, the United States respectfully requests that this Court preclude

Defendant Roethle from admitting any evidence at trial that he has failed to disclose under Rule

16.

XVIII. Motion in Limine to preclude an improper and untimely advice of counsel defense

       According to the Eighth Circuit, “[t]o rely upon the advice of counsel in his defense, a

defendant must show that he: (i) fully disclosed all material facts to his attorney before seeking

advice; and (ii) actually relied on his counsel’s advice in the good faith belief that his conduct was

legal.” United States v. Naushad, 68 F.4th 380, 387 (8th Cir. 2023) (quoting United States v. Wolfe,

781 Fed. Appx. 566, 568 (8th Cir. 2019)). The Eighth Circuit has added that “[a] defendant is not

immunized from criminal prosecution merely because he consulted an attorney in connection with

a particular transaction.” United States v. Petters, 663 F.3d 375, 384 (8th Cir. 2011). When a




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defendant raises the advice of counsel defense, the attorney-client privilege is waived. United

States v. Workman, 138 F.3d. 1261, 1263–64 (8th Cir. 1998). Along with a waiver of the attorney-

client privilege, a defendant must also provide sufficient pre-trial discovery of attorney-client

communications to justify the defense. This discovery requirement is imposed by courts in part so

that the trial court is afforded an opportunity to determine whether a sufficient foundation exists

to support presentation of the defense to the trier of fact. See, e.g., United States v. Wolfe, 781 F.

App’x 566, 569 (8th Cir. 2019) (affirming district court’s grant of government’s motion in limine

prohibiting defendant from raising an advice of counsel defense at trial because of defendant’s

failure to proffer evidence establishing full disclosure and reliance).

       Indeed, courts across the country require that defendants provide sufficient pre-trial notice

of an advice of counsel defense and that defendants disclose the necessary discovery to support

such a defense adequately in advance of trial. See e.g., United States v. Crowder, 325 F. Supp. 3d

131, 139 (D.D.C. 2018) (requiring defendant to provide notice and discovery as to any potential

advice of counsel defense two weeks prior to trial); United States v. Cooper, 283 F. Supp. 2d 1215,

1225 (D. Kan. 2003) (same); see also United States v. Brik, No. 15-CR-78 (SRN/BRT), 2016 WL

3753080, at *3 (D. Minn. July 11, 2016) (“Failure to promptly disclose an advice-of-counsel

defense may constitute waiver of the defense.”); United States v. Dallmann, 433 F. Supp. 3d 804,

812-13 (E.D. Va. 2020) (holding that courts have inherent authority to impose requirement of

pretrial notice of advice-of-counsel defense and requiring notice ten days prior to trial in light of

complexity of advice-of-counsel defense and potential for discovery of otherwise-privileged

documents).

       Here, Defendant Roethle has not represented that he will assert an advice of counsel

defense, and he has also not produced any attorney-client communications that would justify such




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a defense. For those reasons, the United States moves this Court for an order to preclude any advice

of counsel defense.

XIX. Motion in Limine to preclude Defendant Roethle from presenting legally baseless
     theories

       Given Defendant Roethle’s claims in his motion to dismiss the Indictment and his

statements made during in-court proceedings, the United States anticipates that Defendant Roethle

intends to present various theories at trial that are meant to challenge the Court’s jurisdiction. As

this Court has already observed, Defendant Roethle’s arguments are “sovereign- citizen type

arguments and they have no legal basis.” See Doc. 221, p. 4. These arguments, which lack any

support in law, present legal questions—which this Court has already resolved—and do not present

factual issues to be decided by the jury. Simply put, Defendant Roethle’s legally baseless sovereign

citizen arguments are not relevant or admissible at trial. Therefore, the United States respectfully

requests that this Court prevent Defendant Roethle from referencing, through evidence, argument,

or statements, any of his previously rejected, legally baseless arguments.

XX.    Motion in Limine to preclude Defendant Roethle from testifying without taking the
       witness stand

       Although the defendant is entitled to represent himself, he should not be permitted to use

his pro se representation as a subterfuge to testify or present evidence without being subject to

cross-examination. For example, in United States v. Oglesby, 764 F.2d 1273 (7th Cir. 1985), the

Seventh Circuit held that a pro se defendant should be warned not to speak in the first person in

his comments on the evidence and that the jury should be carefully instructed that nothing the pro

se defendant says in his capacity as a “lawyer” should be considered as evidence. Id. at 1276.

Accordingly, the Government requests that this Court warn Defendant Roethle not to speak in the

first person while commenting on the evidence, and additionally requests an instruction notifying

the jury that nothing Defendant Roethle says in his capacity as a “lawyer” should be considered as



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evidence.

XXI. Motion in Limine to revoke Defendant Roethle’s self representation if he deliberately
     engages in serious and obstructionist misconduct

       The right of self-representation is not absolute. “[T]he trial judge may terminate self-

representation by a defendant who deliberately engages in serious and obstructionist misconduct.”

Faretta v. California, 422 U.S. 806, 834 n.46 (1975); see also United States v. Mosley, 607 F.3d

555, 558 (8th Cir. 2010). “A defendant is not entitled to use the right of self-representation as a

tactic for delay, for distortion of the system, or for manipulation of the trial process.” Mosley, 607

F.3d at 558 (citing United States v. Edelmann, 458 F.3d 791, 808-9 (8th Cir. 2006) (internal

quotations omitted)).

       As the Eighth Circuit recently recognized, “[r]efusing to participate in the proceedings, if

continued at trial, is serious obstructionist misconduct,” that can result in revoking a defendant’s

self representation. United States v. Willis, 101 F.4th 577, 584–85 (8th Cir. 2024). In United States

v. Luscombe, for example, the Eighth Circuit upheld revocation of self-representation in the middle

of trial when the defendant “repeatedly and frequently defied the district court's orders not to argue

with witnesses, not to interrupt witnesses, not to interject his own testimony during his examination

of witnesses, to speak clearly and slowly for the jury and court reporter, and to speed up his cross

examinations.” 950 F.3d 1021, 1030 (8th Cir. 2020). This conduct “was more than just poor

‘lawyering’ -- it interrupted the trial process and was seriously obstructive.” Id. Therefore, if

Defendant Roethle displays similar conduct in this case, the United States requests that the Court

revoke his self representation.

XXII. Motion in Limine to admit expert testimony from HHS-OIG Special Agent Mitchell
      Blum

       At trial, the United States will offer expert witness testimony from Special Agent (SA)

Mitchell Blum of the U.S. Department of Health and Human Services – Office of Inspector



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General. As has been disclosed to Defendant, the United States anticipates that SA Blum will rely

on his education, training, experience, and qualifications to testify regarding the operations,

methods, patterns, and practices of medical clinics, physicians, and DME suppliers with respect to

orders for, the provision of, and billing Medicare for DME, cancer screening tests, and topical

cream prescriptions in a legitimate setting, as well as the operations, methods, patterns, and

practices of medical clinics, physicians, and DME suppliers involved in DME fraud schemes. See

Exhibit G attached hereto (Government’s expert witness disclosure). SA Blum will not offer any

testimony based on the specific facts of this case, including whether Defendant was involved in a

DME fraud scheme. Id. Because SA Blum’s anticipated “modus operandi” expert testimony will

help educate the jury on how a complex DME fraud scheme commonly works, the United States

seeks a pretrial ruling that, subject to SA Blum’s qualification as an expert, his anticipated

testimony will be admissible at trial.

       “Decisions concerning the admissibility of expert testimony lie within the broad discretion

of the trial court and will not be reversed on appeal unless there has been an abuse of that

discretion.” United States v. Anderson, 446 F.3d 870, 874 (8th Cir. 2006) (internal quotations

omitted). “Federal Rule of Evidence 702(a) permits expert testimony if a witness’s specialized

knowledge will help the trier of fact to understand the evidence or to determine a fact in issue.”

United States v. Spencer, 700 F.3d 317, 321 (8th Cir. 2012) (internal quotations omitted). “Thus,

when determining the admissibility of expert testimony, the relevant inquiry is whether [the

expert’s] testimony would be ‘helpful’ to the jury’s understanding of the evidence.” United States

v. Johnson, 28 F.3d 1487, 1496–97 (8th Cir. 1994) (quoting Daubert v. Merrell Dow Pharm., Inc.,

509 U.S. 579 (1993)).

       The Eighth Circuit has recognized that expert testimony regarding how complex schemes




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commonly work is admissible because it helps the jury understand the typical methods and

techniques of criminals involved in those schemes, which is something that average jurors would

otherwise be unfamiliar with. For example, in United States v. Chaika, the district court ruled that

expert testimony about “the structure of the mortgage loan industry and how a mortgage fraud

scheme could operate” was admissible:

       I think the jurors are entitled to know how certain transactions, if they are
       fraudulent, how they are put together, what are the indicia; just like in a drug
       transaction how drug dealers deal with cash and scales and with guns and all that
       sort of thing, so they can then listen to the testimony and see whether part or all of
       it fits. But don’t let that witness go over the line and say in the next question now
       here is what happened in this case.

695 F.3d 741, 745 (8th Cir. 2012). The Eighth Circuit affirmed that ruling, explaining that “[i]t is

well within the discretion of a district court to allow law enforcement officials to testify as experts

concerning the modus operandi of [criminals] in areas concerning activities which are not

something with which most jurors are familiar.” Id. at 746 (second alteration in original) (internal

quotations omitted). On that same basis, in United States v. Primm, the Eighth Circuit held that the

district court properly admitted modus operandi expert testimony from a federal agent regarding

“common methods of tax evasion.” 63 F.4th 1186, 1190 (8th Cir. 2023); see also United States v.

Whitehead, 176 F.3d 1030, 1035 (8th Cir. 1999) (holding that the district did not abuse its

discretion by admitting special agent’s expert testimony on “the most common characteristics of

check kiting”).

       Although the Eighth Circuit has not addressed the admissibility of modus operandi expert

testimony in the health care fraud context, other courts have determined that such testimony is

admissible in health care fraud cases, including specifically cases involving DME fraud schemes.

See, e.g., United States v. Anieze-Smith, 770 F. App’x 342, 344 (9th Cir. 2019) (unpublished)

(ruling that special agent’s expert testimony was properly admitted because it was “helpful to the




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jury to explain the modus operandi of fraudulent durable medical equipment supply schemes”);

United States v. Tcherniavsky, 708 F. App’x 444, 445 (9th Cir. 2018) (unpublished) (“The district

court did not abuse its discretion by not excluding expert testimony on the modus operandi of

typical durable medical equipment (‘DME’) Medicare fraud schemes. . . . Here, the testimony

proffered satisfied the requirements of Rule 702 to educate the jury about the methods and

techniques used in Medicare fraud schemes involving DME.”); see also United States v. Rahim,

771 F. App’x 605, 613 (6th Cir. 2019) (explaining that special agent was permitted to rely “on his

specialized training and experience with the FBI to explain that certain evidence generally makes

the FBI suspicious of healthcare fraud”).

       In sum, SA Blum’s anticipated expert testimony falls squarely within the type of “modus

operandi” testimony that the Eighth Circuit and other courts have deemed admissible in cases

involving complex fraud schemes like the DME fraud scheme at issue here. Accordingly, the

United States requests that the Court issue a pretrial ruling that SA Blum’s proposed testimony

will be admissible at trial, subject to his qualification as an expert under Rule 702.

                                          CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this Court GRANT

its Motions in Limine.

                                                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2025, the foregoing was filed electronically with the

Clerk of the Court to be served by operation of the Court’s electronic filing system upon the

defendant.


                                           /s/ Derek J. Wiseman
                                           DEREK J. WISEMAN, #67257MO
                                           Assistant United States Attorney




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